                                                            Case 2:14-cr-00232-GMN-NJK Document 112 Filed 10/20/17 Page 1 of 8



                                                        1    RICHARD E. TANASI, ESQ.
                                                             Nevada Bar No. 9699
                                                        2    TANASI LAW OFFICES
                                                        3    601 S. Seventh Street, 2nd Floor
                                                             Las Vegas, NV 89101
                                                        4    Telephone: (702) 906-2411
                                                             Facsimile: (866) 299-5274
                                                        5    Attorney for Defendant
                                                        6
                                                                                        UNITED STATES DISTRICT COURT
                                                        7
                                                                                                 DISTRICT OF NEVADA
                                                        8
                                                        9    UNITED STATES OF AMERICA,
                                                                                                      CASE NO.:       2:14-cr-00232-GMN-NJK
                                                       10                           Plaintiff,
                                                                                                      DEFENDANT’S SENTENCING MEMORANDUM
T ANASI L AW O FFICES




                                                       11    vs.
                   702-906-2411 • Fax 866-299-5274
                    601 S. Seventh Street, 2nd Floor




                                                       12    FREDERICK JOHN RIZZOLO,
                       Las Vegas, Nevada 89101




                                                       13                           Defendant.
                                                       14
                                                       15    Certificate of Timely Filing: This Motion was timely filed.
                                                       16           Defendant FREDERICK JOHN RIZZOLO (hereinafter “Mr. Rizzolo”), by and through

                                                       17    his attorney of record, RICHARD E. TANASI, ESQ., of Tanasi Law Offices, and SIGAL
                                                       18
                                                             CHATTAH of Chattah Law Group, hereby submit this document to aid the court in its
                                                       19
                                                             determination of sentence in the above-captioned case.
                                                       20
                                                       21    ///

                                                       22
                                                       23    ///

                                                       24
                                                       25    ///

                                                       26
                                                       27    ///

                                                       28


                                                                                                           - 1-
                                                            Case 2:14-cr-00232-GMN-NJK Document 112 Filed 10/20/17 Page 2 of 8



                                                        1
                                                        2                           MEMORANDUM OF POINTS AND AUTHORITES
                                                        3                                                          I.
                                                        4                                 STATEMENT OF RELEVANT FACTS
                                                        5              On, June 8, 2017, a plea agreement between Mr. Rizzolo and the Government was filed.
                                                        6    The agreement was binding, pursuant to Fed. R. Crim. P. 11(c)(1)(A) and (C). This Honorable
                                                        7    Court “accepted the guilty plea.” [Doc. 107].
                                                        8              The guilty plea agreement outlined the following binding terms, in part:
                                                        9          •   “The parties will jointly recommend that the Court sentence the Defendant to a sentence
                                                       10              of twenty-four (24) months, regardless of the Sentencing Guidelines range as calculated
T ANASI L AW O FFICES




                                                       11              by the United States Probation Office or as determined by the Court…” [Doc. 109 at
                   702-906-2411 • Fax 866-299-5274
                    601 S. Seventh Street, 2nd Floor




                                                       12              p.13]; and
                       Las Vegas, Nevada 89101




                                                       13          •   “The parties agree that such a sentence would be reasonable under 18 U.S.C. 3553(a).”
                                                       14              [Id.].
                                                       15              The guilty plea agreement outlined the following non-binding terms, in part:
                                                       16          •   “The parties agree to recommend that the restitution amount is $2,637,290.37.” [Id.];
                                                       17          •   “The Government will also recommend that the Defendant be ordered to serve a term of
                                                       18              two years of supervised release.” [Id.].
                                                       19              The United States Probation Office recommended the following, in relevant part:
                                                       20          •   46 month sentence;
                                                       21          •   3 years supervised release; and
                                                       22          •   $2,637,290.37 restitution.
                                                       23    ///
                                                       24
                                                       25    ///
                                                       26
                                                       27    ///
                                                       28


                                                                                                                  - 2-
                                                            Case 2:14-cr-00232-GMN-NJK Document 112 Filed 10/20/17 Page 3 of 8



                                                        1                                                    II.
                                                        2                                         LEGAL ARGUMENT
                                                        3    A.     A 24-Month Sentence is Reasonable under 18 U.S.C. 3553(a).
                                                        4           Mr. Rizzolo requests this Honorable Court follow the binding terms of the guilty plea
                                                        5    agreement, and impose a 24-month sentence as reasonable under 18 USC § 3553(a). This
                                                        6    Honorable court, in determining the particular sentence to be imposed, must consider the
                                                        7    following factors:
                                                        8           (1)    the nature and circumstances of the offense and the history and
                                                                    characteristics of the defendant;
                                                        9           (2)    the need for the sentence imposed—
                                                       10                  (A)      to reflect the seriousness of the offense, to promote respect for the
                                                                                    law, and to provide just punishment for the offense;
T ANASI L AW O FFICES




                                                       11                  (B)      to afford adequate deterrence to criminal conduct;
                   702-906-2411 • Fax 866-299-5274




                                                                           (C)      to protect the public from further crimes of the defendant; and
                    601 S. Seventh Street, 2nd Floor




                                                       12                  (D)      to provide the defendant with needed educational or vocational
                       Las Vegas, Nevada 89101




                                                       13                           training, medical care, or other correctional treatment in the most
                                                                                    effective manner;
                                                       14           (3)    the kinds of sentences available;
                                                                    (4)    the kinds of sentence and the sentencing range established for—
                                                       15
                                                                           (A)the applicable category of offense committed by the applicable
                                                       16           category of defendant as set forth in the guidelines—
                                                                           …
                                                       17           (5)    any pertinent policy statement—
                                                                           (A) issued by the Sentencing Commission pursuant to section 994(a)(2)
                                                       18
                                                                           of title 28, United States Code, subject to any amendments made to such
                                                       19                  policy statement by act of Congress (regardless of whether such
                                                                           amendments have yet to be incorporated by the Sentencing Commission
                                                       20                  into amendments issued under section 994(p) of title 28); and
                                                       21                  (B) that, except as provided in section 3742(g) [18 USCS § 3742(g)], is
                                                                           in effect on the date the defendant is sentenced.[;]
                                                       22           (6)    the need to avoid unwarranted sentence disparities among defendants
                                                                           with similar records who have been found guilty of similar conduct; and
                                                       23           (7)    the need to provide restitution to any victims of the offense.
                                                       24
                                                       25    18 U.S.C. § 3553(a).

                                                       26           These factors represent the major sentencing considerations of “retribution, deterrence,

                                                       27    incapacitation and rehabilitation.” Tapia v. United States, 564 U.S. 319, 325 (2011). Section

                                                       28    3553(a) sets out what the court must consider in choosing the “particular sentence” that



                                                                                                            - 3-
                                                            Case 2:14-cr-00232-GMN-NJK Document 112 Filed 10/20/17 Page 4 of 8



                                                        1    complies with the “overarching provision instructing district courts to ‘impose a sentence
                                                        2    sufficient, but not greater than necessary,’ to achieve the goals of sentencing.” Kimbrough v.
                                                        3    United States, 552 U.S. 85, 101, 128 S. Ct. 558 (2007); See also Freeman v. United States, 131
                                                        4    S. Ct. 2685, 2692 (2011). The judge “shall consider” the nature and circumstances of the
                                                        5    offense and the history and characteristics of the defendant, § 3553(a)(1); the purposes of
                                                        6    sentencing, § 3553(a)(2); the kinds of sentences available by statute, § 3553(a)(3); the kinds of
                                                        7    sentence and sentencing range recommended by the Guidelines and any “pertinent” policy
                                                        8    statement issued by the Commission, § 3553(a)(4) & (5); the need to avoid unwarranted
                                                        9    disparities, § 3553(a)(6); and the need to provide restitution to any victims, § 3553(a)(7).
                                                       10            Here, the parties agree to a binding 24-month sentence. This was a key element in the
T ANASI L AW O FFICES




                                                       11    negotiations leading up to the guilty plea agreement. Further, 24-months of incarceration is
                   702-906-2411 • Fax 866-299-5274
                    601 S. Seventh Street, 2nd Floor




                                                       12    reasonable under § 3553 given the fact that Mr. Rizzolo has no violent criminal history, has a
                       Las Vegas, Nevada 89101




                                                       13    loving and supportive family (i.e. his son considers him his best friend), he will be roughly 62-
                                                       14    years old when he is released from custody, he has “severe coronary artery disease but is
                                                       15    stable…,” and Mr. Rizzolo has been incident free while on pre-trial release since 2014. [See,
                                                       16    Mr. Rizzolo’s Medical Record attached under seal for HIPPA concerns as Ex.A]. As a result, a
                                                       17    24-month prison sentence reasonably considers retribution, deterrence, incapacitation and
                                                       18    rehabilitation.
                                                       19            Should this Honorable Court elect not impose this sentence, Mr. Rizzolo requests he be
                                                       20    permitted to immediately withdraw from his guilty plea agreement as expressly stated therein,
                                                       21    under Fed. R. Crim. P. 11(c)(1)(A) and (C)[…If the defendant pleads guilty or nolo contendere
                                                       22    to either a charged offense or a lesser or related offense, the plea agreement may specify that an
                                                       23    attorney for the government will:…(C) agree that a specific sentence or sentencing range is the
                                                       24    appropriate disposition of the case, or that a particular provision of the Sentencing Guidelines,
                                                       25    or policy statement, or sentencing factor does or does not apply (such a recommendation or
                                                       26    request binds the court once the court accepts the plea agreement)]; see also, Fed. R. Crim. P.
                                                       27    11(d)[A defendant may withdraw a plea of guilty or nolo contendere…(2) after the court
                                                       28


                                                                                                             - 4-
                                                            Case 2:14-cr-00232-GMN-NJK Document 112 Filed 10/20/17 Page 5 of 8



                                                        1    accepts the plea, but before it imposes sentence if: (A) the court rejects a plea agreement
                                                        2    under 11(c)(5); or…].
                                                        3    B.        6-Month Supervised Release is Reasonable under 18 U.S.C. 3553(a).
                                                        4              The instant category D offense triggers a supervised release period of “not more than
                                                        5    three years.” 18 USC §3583(b)(2). Generally, “the court, in determining whether to include a
                                                        6    term of supervised release, and, if a term of supervised release is to be included, in determining
                                                        7    the length of the term and the conditions of supervised release, shall consider the factors set
                                                        8    forth in section 3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), and (a)(7).” 18
                                                        9    USC §3583 (c). The imposition of supervised release is discretionary and not mandatory. Here,
                                                       10    the government agreed to recommend a 24-month supervised release term. This
T ANASI L AW O FFICES




                                                       11    recommendation, while not binding, was a key element of the negotiations. While Mr. Rizzolo
                   702-906-2411 • Fax 866-299-5274
                    601 S. Seventh Street, 2nd Floor




                                                       12    appreciates the government’s recommendation, he requests this Honorable Court order a 6-
                       Las Vegas, Nevada 89101




                                                       13    month supervised release term. 6-months of supervision following 24-months of incarceration
                                                       14    is reasonable given § 3553 factors analyzed above.
                                                       15    C.        $2,637,290.37 Restitution is Reasonable under 18 U.S.C. 3553(a).
                                                       16              Mr. Rizzolo, the government, and the probation office agree the appropriate restitution
                                                       17    amount in this case is: $2,637,290.37. Mr. Rizzolo requests this Honorable Court order nominal
                                                       18    period payments towards restitution. 18 U.S.C.S. § 3664 (f)(3) states the following in this
                                                       19    regard:
                                                       20              (A)   A restitution order may direct the defendant to make a single, lump-sum
                                                                       payment, partial payments at specified intervals, in-kind payments, or a
                                                       21              combination of payments at specified intervals and in-kind payments.
                                                       22
                                                                       (B)      A restitution order may direct the defendant to make nominal periodic
                                                       23              payments if the court finds from facts on the record that the economic
                                                                       circumstances of the defendant do not allow the payment of any amount of a
                                                       24              restitution order, and do not allow for the payment of the full amount of a
                                                       25              restitution order in the foreseeable future under any reasonable schedule of
                                                                       payments.
                                                       26
                                                                       Here, the PSR outlines Mr. Rizzolo’s economic circumstances, which do not allow for
                                                       27
                                                             the payment of any amount of a restitution order, and do not allow for the payment of the full
                                                       28


                                                                                                              - 5-
                                                            Case 2:14-cr-00232-GMN-NJK Document 112 Filed 10/20/17 Page 6 of 8



                                                        1    amount of a restitution order in the foreseeable future under any reasonable schedule of
                                                        2    payments.
                                                        3            Further, in the GPA, the parties agreed to the following recommendation as to the
                                                        4    application of restitution payments made in this case:
                                                        5            0. The parties agree that payments made by the Defendant to the Clerk toward
                                                                     restitution in this matter shall, unless otherwise ordered subsequent to judgment,
                                                        6            be credited toward the restitution loss in this case. The parties further agree that,
                                                        7            unless otherwise ordered subsequent to judgment, payments made by the
                                                                     Defendant to the Clerk toward the loss in this case shall also be credited toward
                                                        8            the restitution owed to the IRS in United States v. Rizzolo, et al., 2:06-cr-00186-
                                                                     KJD-PAL. The Defendant acknowledges that neither the United States nor the
                                                        9            IRS is precluded from enforced collection in th.is matter regardless of any
                                                       10            payments made to the Clerk for restitution. By agreeing to this term, the parties
                                                                     agree that this provision of the plea agreement does not constitute any double
T ANASI L AW O FFICES




                                                       11            jeopardy violation.
                   702-906-2411 • Fax 866-299-5274
                    601 S. Seventh Street, 2nd Floor




                                                       12
                                                                     As a result of the foregoing GPA-language, Mr. Rizzolo requests the following language
                       Las Vegas, Nevada 89101




                                                       13
                                                             appear in the judgment of conviction in this case:
                                                       14
                                                                             IT IS HEREBY ORDERED that payments made by the Defendant to the
                                                       15            Clerk toward restitution in this matter shall, unless otherwise ordered subsequent
                                                                     to judgment, be credited toward the restitution loss in this case.
                                                       16
                                                                             IT IS HEREBY FURTHER ORDERED that unless otherwise ordered
                                                       17
                                                                     subsequent to judgment, payments made by the Defendant to the Clerk toward
                                                       18            the loss in this case shall also be credited toward the restitution owed to the IRS
                                                                     in United States v. Rizzolo, et al., 2:06-cr-00186-KJD-PAL.
                                                       19
                                                                            IT IS HEREBY FURTHER ORDERED that neither the United States nor
                                                       20
                                                                     the IRS is precluded from enforced collection in this matter regardless of any
                                                       21            payments made to the Clerk for restitution.
                                                       22
                                                                                                              III.
                                                       23
                                                                                                       CONCLUSION
                                                       24
                                                                         As such, based upon the foregoing, Mr. Rizzolo requests this Honorable Court:
                                                       25
                                                                 •   Impose a 24-month sentence;
                                                       26
                                                                 •   Impose a 6-month supervised release period;
                                                       27
                                                                 •   Order a $0.00 fine;
                                                       28


                                                                                                              - 6-
                                                            Case 2:14-cr-00232-GMN-NJK Document 112 Filed 10/20/17 Page 7 of 8



                                                        1       •   Order the mandatory $100.00 special assessment be paid prior to Mr. Rizzolo’s
                                                        2           incarceration;
                                                        3       •   Order restitution in the amount of $2,637,290.37 be paid by Mr. Rizzolo at a monthly
                                                        4           rate of not more than 10% of any income earned under 18 USC § 3664 (f)(3) given Mr.
                                                        5           Rizzolo’s financial condition;
                                                        6       •   Order Mr. Rizzolo’s 10% nominal restitution payments not be due and payable until
                                                        7           after Mr. Rizzolo has been released from incarceration and is thereafter employed, as a
                                                        8           reasonable schedule of payments under 18 USC § 3664 (f)(3) given Mr. Rizzolo’s
                                                        9           financial condition;
                                                       10       •   Order restitution payments be applied as follows:
T ANASI L AW O FFICES




                                                       11                  IT IS HEREBY ORDERED that payments made by the Defendant to the Clerk
                   702-906-2411 • Fax 866-299-5274
                    601 S. Seventh Street, 2nd Floor




                                                       12                  toward restitution in this matter shall, unless otherwise ordered subsequent to
                       Las Vegas, Nevada 89101




                                                       13                  judgment, be credited toward the restitution loss in this case.
                                                       14                  IT IS HEREBY FURTHER ORDERED that unless otherwise ordered
                                                       15                  subsequent to judgment, payments made by the Defendant to the Clerk toward
                                                       16                  the loss in this case shall also be credited toward the restitution owed to the IRS
                                                       17                  in United States v. Rizzolo, et al., 2:06-cr-00186-KJD-PAL.
                                                       18                  IT IS HEREBY FURTHER ORDERED that neither the United States nor the
                                                       19                  IRS is precluded from enforced collection in th.is matter regardless of any
                                                       20                  payments made to the Clerk for restitution.
                                                       21       •   Recommend that Mr. Rizzolo be allowed to self-surrender to his designated facility on
                                                       22           January 3, 2018; and
                                                       23       •   Recommend that Mr. Rizzolo serve his prison time at Taft Correctional Institution.
                                                       24              DATED this 20th day of October 2017.
                                                       25
                                                                                                                  /s/
                                                       26                                                         _________________________
                                                       27                                                         RICHARD E. TANASI, ESQ.
                                                                                                                  SIGAL CHATTAH, ESQ.
                                                       28                                                         Counsel for Defendant


                                                                                                           - 7-
                                                            Case 2:14-cr-00232-GMN-NJK Document 112 Filed 10/20/17 Page 8 of 8



                                                        1
                                                        2                                    CERTIFICATE OF SERVICE
                                                        3           I HEREBY CERTIFY that on the 20th day of September, 2017, the undersigned served
                                                        4    the foregoing SENTENCING MEMORANDUM on all counsel of record herein by causing a
                                                        5
                                                             true copy thereof to be filed with the Clerk of Court using the CM/ECF system, which was
                                                        6
                                                             served via electronic transmission by the Clerk of Court pursuant to local order.
                                                        7
                                                        8
                                                        9
                                                                                                         /s/ Richard Tanasi
                                                       10                                          An employee of TANASI LAW OFFICES
T ANASI L AW O FFICES




                                                       11
                   702-906-2411 • Fax 866-299-5274
                    601 S. Seventh Street, 2nd Floor




                                                       12
                       Las Vegas, Nevada 89101




                                                       13
                                                       14
                                                       15
                                                       16
                                                       17
                                                       18
                                                       19
                                                       20
                                                       21
                                                       22
                                                       23
                                                       24
                                                       25
                                                       26
                                                       27
                                                       28


                                                                                                            - 8-
